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11                                  UNITED STATES DISTRICT COURT

12                                NORTHERN DISTRICT OF CALIFORNIA

13                                      SAN FRANCISCO DIVISION
14
     UNITED STATES OF AMERICA,                      )   NO. 20-480-01 WHA
15                                                  )
             Plaintiff,                             )   UNITED STATES’ SENTENCING
16                                                      MEMORANDUM
                                                    )
        v.
17                                                  )
                                                        Judge: Hon. William Alsup
     Emilson Jonathan CRUZ Mayorquin,               )
18                                                      Sentencing Date: December 14, 2021
          a/k/a “Playboy,                           )
                                                        Time: 2:00 p.m.
                                                    )
19           Defendant.                             )
20

21 I.        INTRODUCTION

22           On the streets of the Tenderloin, Defendant Emilson Jonathan Cruz Mayorquin went by the

23 nickname “Playboy.” He is a young man who found success by selling fentanyl, a drug that is

24 responsible for nearly two overdose deaths a day in San Francisco.1 And not only did he sell fentanyl,

25

26           1
            Jung, Yoohyun. “San Francisco’s Seizures of Deadly Fentanyl are Skyrocketing. Is It
27 Impacting  Supply?” SF CHRONICLE. last updated May 28, 2021, available at
   https://www.sfchronicle.com/local/article/San-Francisco-s-seizures-of-deadly-fentanyl-are-
28 16208702.php (las accessed December 7, 2021).
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 1 but he sold multiple varieties of fentanyl, referring to each type by a code name. In doing so, he made

 2 money while preying on vulnerable individuals in this District and contributing to the epidemic that

 3 plays out on the streets of the Tenderloin daily. And while fentanyl was the bread and butter of his

 4 business, Cruz Mayorquin sold a variety of other “products” – namely, heroin, methamphetamine,

 5 cocaine, and cocaine base. His scope as a trafficker was broad; he sold to individual drug users on the

 6 street and he sold larger quantities to other resellers. At the time of his arrest, federal agents seized

 7 nearly a kilogram of drugs from his apartment.

 8          Cruz Mayorquin’s conduct is the latest and most serious in a steady escalating pattern of criminal

 9 conduct. Beginning as a juvenile, Cruz Mayorquin was arrested for crimes ranging from robbery to drug

10 sales. Those crimes may have otherwise been characterized as “youthful indiscretions,” but for the

11 continued and expanding nature of Cruz Mayorquin’s conduct despite arrests, convictions, and two prior

12 deportations. Instead of walking away from drug dealing following a 2017 state conviction and

13 subsequent deportation, Cruz Mayorquin returned to the United States and engaged in the widescale

14 conspiracy before the Court now. While he previously was a lower-level distributor, characterizing

15 himself during a prior arrest as merely a “middleman,” by 2020 he had graduated to a higher position in

16 the trafficking ecosystem. He had a reputation for being a leading local fentanyl distributor. Along with

17 other family members, his mother, sister, and uncle, Cruz Mayorquin distributed significant quantities of

18 drugs. Even amongst his family, he, along with this mother, had the steadiest streams of drug supply,

19 which helped elevate his profile.

20          The government urges this Court to adopt the sentence recommended by the U.S. Probation

21 Department of 51 months in custody, followed by four years of supervised release. This

22 recommendation incorporates a slight variance from the Guidelines range as calculated by the

23 government for the reasons set forth below. No further variance is warranted considering the

24 seriousness of the conduct and Cruz Mayorquin’s role in the drug trafficking conspiracy.

25 II.      PROCEDURAL POSTURE

26          On December 8, 2020, the Honorable Laurel Beeler, U.S. Magistrate Judge, issued a criminal

27 Complaint charging Cruz Mayorquin and five co-defendants with conspiring to traffic fentanyl in the

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 1 Bay Area. Dkt. 1. In conjunction with the Complaint, the Court issued warrants authorizing the arrest

 2 of Cruz Mayorquin and his co-defendants. Id. Two days later on, December 10, 2020, federal agents

 3 arrested Cruz Mayorquin, and six other individuals (the five co-defendants charged in the Complaint as

 4 well as one other individual, Mayer Benegas Medina who was charged the same day in a separate

 5 Complaint, see 20-mj-71816-MAG). The following week, a federal grand jury returned an Indictment

 6 charging Cruz Mayorquin and the six individuals arrested on the day of the takedown. Dkt. 23. Cruz

 7 Mayorquin was charged in Count One of the Indictment with participation in a conspiracy to traffic

 8 fentanyl, in violation of 21 U.S.C. § 841(a)(1), (b)(1)(C), and in Count Eight of the Indictment with

 9 Possession with Intent to Distribute 100 Grams or More of Heroin, in violation of 21 U.S.C. § 841(a)(1),

10 (b)(1)(B). Id.

11          Following arraignment, the government moved to detain the defendant pretrial. See Dkt. 10.

12 Following a contested hearing, Judge Beeler detained the defendant as a risk of flight. See Dkts. 34. 59.

13 Subsequently, Cruz Mayorquin sought a renewed bond hearing during which the Court affirmed the

14 prior order of detention. See Dkt. 74.

15          Cruz Mayorquin and his co-defendants appeared for an initial status before the District Court on

16 January 26, 2021. Dkt. 68. At the time, the parties explained that the underlying case involved an

17 extensive wiretap investigation and that there would be voluminous discovery produced by the

18 government, much of which would need to be translated for the defendants. Following this initial

19 appearance, the parties continued apprising the Court of the status of the case through written updates in

20 lieu of physically appearing at a hearing due in large part to the logistical complexity at the time of

21 transporting defendants in a multi-defendant case from Santa Rita Jail. The government recognizes that

22 in agreeing to keep the Court apprised in that fashion, the defendant waived his right to a physical

23 appearance while the attorneys continued to complete discovery and discuss the case. This reduced

24 administrative burdens amidst the pandemic.

25          On September 21, 2021, Cruz Mayorquin entered a guilty plea to Count Eight of the Indictment

26 pursuant to a written agreement with the government. See Dkts. 105, 106.

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 1 III.     SENTENCING GUIDELINES CALCULATIONS

 2          A.     Offense Level

 3          As set forth in the plea agreement, the parties agree that the following Sentencing Guidelines

 4 apply:

 5          a.     Base Offense Level, U.S.S.G. §§ 2D1.1(a)(5), (c)(6):                                      28
                   (At least 700 KG but less than 1,000 KG of Converted Drug Weight)
 6
            b.     Acceptance of Responsibility (U.S.S.G. § 3E1.1(a):                                     -3
 7

 8          The government recognizes that the U.S. Probation Office calculated a higher base level offense

 9 than the one agreed upon by the parties. Presentence Report (“PSR”) ¶ 25. The government continues

10 to recommend the calculation outlined in the plea agreement and makes its sentencing recommendation

11 based on the resulting advisory Guidelines range. See generally United States v. Heredia, 769 F.3d

12 1220, 1231 (9th Cir. 2014) (“[W]hen the prosecutor makes a promise to the defendant, that promise

13 must be fulfilled”) (internal citation and quotation marks omitted).

14          Further, based on Cruz Mayorquin’s criminal history, he is eligible for safety valve relief

15 pursuant to the First Step Act. He satisfies the other requirements under the safety valve statute, which

16 allows this Court to sentence the defendant under the 60-month mandatory minimum, if appropriate. At

17 this time, the U.S. Sentencing Guidelines have not been amended to incorporate a two-level reduction

18 for qualifying for the safety valve under the First Step Act. Regardless, the government believes a two-

19 level reduction is appropriate, which, based on the Guidelines as contemplated in the plea agreement,

20 would reduce the offense level of 23. 2

21          B.             Criminal History Category

22          The government agrees with the Criminal History Category (CHC) as calculated by Probation,

23 which finds that Cruz Mayorquin falls within CHC III. This calculation includes two-points for the

24 commission of a crime while under a criminal justice sentence based on a five-year probationary term

25

26          2
            The parties’ written plea agreement also contemplated the possibility of a two-level downward
27 departure for a group disposition if Cruz Mayorquin and five co-defendants pled guilty pursuant to plea
   agreements with the government. Because the requirements of that group plea have not been met, the
28 government is not moving for that departure.
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 1 arising from Cruz Mayorquin’s 2017 conviction for California Health & Safety Code Section 11352(a)

 2 (Sale/Offer to Sell Controlled Substance). See PSR ¶ 39; see also U.S.S.G. § 4A1.1(d). Defense asserts

 3 that these two points should not be added following a change in state law that reduced the maximum

 4 term of probation applicable for defendant conviction of § 11352(a). Applying the new law, the

 5 Superior Court of Alameda County terminated the defendant’s probation January 2021 because he had

 6 served the maximum term under the revised statute. Defense argues that by extension, had the

 7 defendant originally been sentenced under the new law, his term of probation would have run by the

 8 commencement of the current offense and the two points under § 4A1.1(d) do not apply. With respect

 9 to § 4A1.1(d), however, the Guidelines and Ninth Circuit law look not to whether a court later amended

10 a sentence, but rather whether in real time – meaning at the actual moment in time when the defendant

11 was committing the offense conduct – the defendant was subject to another criminal justice sentence.

12                  1.      Cruz Mayorquin’s Underlying Conviction and Change in Recent State Law

13          By way of background, as noted in the PSR, on June 1, 2017, BART police officers arrested

14 Cruz Mayorquin on an outstanding warrant. PSR ¶ 37. At the time, Cruz Mayorquin possessed “three

15 baggies of heroin, two baggies of methamphetamine, and 30 bindles of black tar heroin. Officers also

16 later located a hatchet, a knife, and an identification card belonging to another person in his backpack.”

17 Id. He was charged with a violation of California Health & Safety Code Section 11352(a) (Sale/Offer to

18 Sell Controlled Substance). Id. The following month on July 27, 2017, the Superior Court of Alameda

19 County sentenced Cruz Mayorquin to five years’ probation, with the first 180 days to be served in county

20 jail. Id. Based on documents provided by defense counsel to the government, Cruz Mayorquin was in

21 custody from the time of his arrest on June 1, 2017. Therefore, accounting for his custodial time, his five-

22 year probationary term originally was scheduled to termination on or about June 1, 2022.

23          In September 2020, Governor Newsom signed into law California Assembly Bill 1950, which

24 reduced the maximum probationary term for certain misdemeanors and felonies. Specifically, the bill

25 reduced the maximum five-year probationary term for a violation of California Health & Safety Code

26 Section 11352(a) to a two-year term. See Cal. Penal Code § 1203.1(a) (effective January 21, 2021).

27 Since the passage of the bill, California state courts have held that the change applies retroactively such

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 1 that eligible defendants who have served longer than a two-year period can petition for early termination

 2 of probation. People v. Sims, 273 Cal. Rptr. 3d 792, 809 (Cal. Ct. App. 2021); see also People v. Shulz,

 3 Cal.Rptr.3d 469, 474-75 (Cal. Ct. App. 2021). Following passage of the bill, on January 29, 2021, the

 4 Superior Court in Alameda terminated probation periods for defendants, including Cruz Mayorquin,

 5 who had already served two years or more on probation.

 6                   2.     Legal Standard and Application of U.S.S.G. § 4A1.1(d)

 7           In determining whether a defendant is under a criminal justice sentence at the time of committing

 8 the current federal offense, the Guidelines and Ninth Circuit case law make clear that a sentencing court

 9 must look to the facts as they existed at the time of the federal offense conduct. While the government

10 has not located any Ninth Circuit case law interpreting the effects of Assembly Bill 1950 on criminal

11 history scores, several cases have reviewed the effect of later changes to a conviction and their effect on

12 CHC points under the Guidelines. The framework set forth in United States v. Alba-Flores, 577 F.3d

13 1104, 1111 (9th Cir. 2009), is instructive. In Alba-Flores, a defendant was on probation following a

14 misdemeanor conviction at the time that he committed his federal offense. The addition of two criminal

15 history points under § 4A1.1(d) rendered the defendant ineligible for safety valve relief (the sentencing

16 in Alba-Flores occurred prior to the amendments to safety valve eligibility through the First Step Act;

17 defendants with more than one criminal history point were prohibited from safety valve relief). In order

18 to lower his criminal history score, the defendant moved for and received a retroactive reduction in this

19 probationary sentence from the state court. Alba-Flores argued that because the sentence was reduced,

20 he was not technically under a criminal justice sentence at the time that he committed his federal

21 offense. In rejecting this position, the Ninth Circuit held that even if the state court altered the sentence,

22 “that does not affect the concrete fact that [the defendant] was ‘under [a] criminal justice sentence’ when

23 he committed his federal offense. The later state court order could not change that concrete fact. It is

24 the actual situation at that precise point in time, not the situation at some earlier or later point that

25 controls.” Alba-Flores, 577 F.3d 1104, 1111 (9th Cir. 2009).

26           In coming to this conclusion, the Court first reviewed the plain language of § 4A1.1(d), which

27 indicates that two points are added “if the defendant committed the instant offense while under any

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 1 criminal justice sentence.” U.S.S.G. § 4A1.1(d). It went on to observe that the Guidelines provide two

 2 specific limited occasions when a retroactive sentencing change results in the two-point enhancement no

 3 longer applying. Specifically, convictions reversed or vacated due to errors in law or actual innocence

 4 and convictions that are expunged are not counted towards Chapter Four enhancements, including

 5 whether a defendant committed the offense while under another criminal justice sentence. See U.S.S.G.

 6 § 4A1.2, Application Note 6; § 4A1.2(j); Alba-Flores, 577 F.3d at 1111. The Guidelines make clear,

 7 though, that beyond these narrow exceptions, a prior sentence is counted even if the conviction is

 8 vacated. See U.S.S.G. § 4A1.2, Application Note 10; Alba-Flores, 577 F.3d at 1111. The Court in

 9 Alba-Flores concluded that because the defendant’s case did not fit into a specific exception, the two

10 points applied.

11           The Court’s approach is supported by the introductory commentary to Chapter Four of the

12 Sentencing Guidelines. There, the Sentencing Commission notes:

13                    A defendant with a record of prior criminal behavior is more culpable
                     than a first offender and thus deserving of greater punishment. General
14                   deterrence of criminal conduct dictates that a clear message be sent to
                     society that repeated criminal behavior will aggravate the need for
15                   punishment with each recurrence. To protect the public from further
                     crimes of the particular defendant, the likelihood of recidivism and future
16                   criminal behavior must be considered. Repeated criminal behavior is an
                     indicator of a limited likelihood of successful rehabilitation.
17

18           A significant reason for calculating a criminal history score is to account for a defendant’s past

19 recidivism and potential to recidivate in the future. The Commission makes clear that a repeat offender

20 should be subject to a “higher punishment with each recurrence.” Logically, a defendant who is subject

21 to a criminal justice sentence yet remains undeterred and continues to commit crimes despite that

22 sentence should also be subject to a higher penalty. From this perspective, what matters is the

23 defendant’s condition at the time that the offense conduct was committed or as the Ninth Circuit put it in

24 Alba Flores: “It is the actual situation at that precise point in time, not the situation at some earlier or

25 later point that controls.” Alba-Flores, 577 F.3d 1104, 1111 (9th Cir. 2009).

26           Here, at the time that Cruz Mayorquin trafficked fentanyl and heroin as he admitted in his plea

27 agreement, he was actually under a term of probation in Alameda County. Cruz Mayorquin could not

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 1 have known that at some point in the future, the California Assembly would pass a law affecting the

 2 length of his probationary term. He continued to deal drugs and expanded the scope and dangerousness

 3 of his drug dealing, despite being on a term of probation. The Court should therefore apply the two

 4 points under § 4A1.1(d) and find a resulting Criminal History Category of III.

 5          C.      Advisory Guidelines Range

 6          At CHC III and a total offense level of 23, Cruz Mayorquin’s advisory Guidelines range is 57-71

 7 months.

 8 IV.      GOVERNMENT’S SENTENCING RECOMMENDATION

 9          The Court should impose a sentence sufficient, but not greater than necessary, to reflect the

10 purposes of sentencing that Congress identified in 18 U.S.C. § 3553(a)(2). United States v. Carty, 520

11 F.3d 984, 991 (9th Cir. 2008). The Court should begin by calculating the correct sentencing range under

12 the Sentencing Guidelines. Id. The Guidelines are “the ‘starting point and the initial benchmark,’”

13 United States v. Ellis, 641 F.3d 411, 415 (9th Cir. 2011) (quoting United States v. Kimbrough, 552 U.S.

14 85, 108 (2007)), and the Court should “remain cognizant of them throughout the sentencing process.”

15 United States v. Gall, 552 U.S. 38, 50 n.6 (2007). After determining the appropriate Guidelines

16 calculations, the Court should then evaluate the sentence for substantive reasonableness in light of the

17 factors set out in Section 3553(a). Carty, 520 F.3d at 991-93. Here, the most important considerations

18 are the nature and circumstances of the offense, the history and characteristics of the defendant, the need

19 to afford adequate deterrence, and the protection of the public. 18 U.S.C. § 3553(a)(1), (a)(2)(B).

20          A.      Cruz Mayorquin sold large quantities of fentanyl and profited handsomely.

21          As noted in the PSR, Cruz Mayorquin and his family sold multiple types of drugs – fentanyl,

22 heroin, and methamphetamine. (PSR ¶¶ 10-14.) But their primary product was fentanyl. (PSR ¶ 10.)

23 Cruz Mayorquin or “Playboy,” his nickname on the streets, was known as the person to go to buy

24 fentanyl. (PSR ¶ 19.) And there is no question that Cruz Mayorquin was motivated by money.

25          In many traditional drug trafficking networks, mid-level suppliers, meaning suppliers who can

26 provide redistribution quantities to other drug dealers, tend to stay away from street-level drug sales

27 where dealers typically sell smaller amounts to drug users. Working on the streets exposes a dealer to

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 1 the constant potential for arrest. Cruz Mayorquin’s long criminal history, dating back to when he was a

 2 juvenile and continuing until his conviction in 2017, illustrates this best. He was repeatedly arrested for

 3 street-level sales both in California and in Utah. See PSR ¶ 37, 41-42.

 4          Over time Cruz Mayorquin established himself further and was able to source larger quantities of

 5 drugs. For example, at the time of his arrest, agents seized nearly half a kilogram of heroin and a half a

 6 kilogram of fentanyl from his apartment. Cruz Mayorquin admits that he was able to sell ounce and half

 7 kilogram quantities to customers. Dkt. 106, Plea Agreement ¶ 2. But despite becoming a mid-level

 8 dealer, Cruz Mayorquin continued to sell smaller amounts of drugs on the streets of the Tenderloin and

 9 intercepted calls show why – it was profitable and led to more business. As Cruz Mayorqun admits in

10 the plea agreement, on October 29, 2020, he sold two ounces of fentanyl to a customer for $1,600. Dkt.

11 106, Plea Agreement ¶ 2. During the call, he used coded language referring to various colors that stood

12 for different varieties of fentanyl. Id. Later that day, at approximately 2:20 p.m., agents intercepted a

13 call from Cruz Mayorquin to an unknown male who was using a phone number ending in -9393 (UM-

14 9393). Dkt. 23, Compl. ¶ 47l. During the call, Cruz Mayorquin said he had just done a “two ounce deal

15 with a new dude.” Id. He went on to say that “the gram customers recommended other good customers

16 who got more.” Id. As described in the Complaint, agents believe the defendant was commenting on

17 how a customer who bought user quantities of drugs – “the gram customers” – referred other customers

18 to Cruz Mayorquin who purchased larger quantities – “other good customers who got more.” In

19 essence, the drug addicts on the streets of the Tenderloin became a referral service for larger sales. The

20 streets surrounding the federal courthouse are replete with agonizing scenes of addiction and suffering,

21 and Cruz Mayorquin used these individuals to increase his bottom-line.

22          The evidence of Cruz Mayorquin’s material success is also illustrated in intercepted calls. For

23 example, during a call intercepted over the defendant’s mother’s phone line (Leydis Yaneth Cruz),

24 Leydis3 spoke with a family member abroad about a house that Cruz Mayorquin was constructing in

25 Honduras. A translated excerpt of the conversation follows:

26

27          3
             Because several defendants in this case have the same or similar last names, the government
28 will refer to certain individuals by their first names to avoid confusion.
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 1         LEYDIS         Emilson is also stressed here with work so then he gets stressed with…[audio

 2                        glitch]… he stresses her, and they are just like that, just problems, so then…

 3                        mainly where it could me more relaxed is in Honduras. Life here is a little

 4                        stressed because… thing is that Emilson has a lot of customers and one calls him,

 5                        another one calls him, how can there be no stress.

 6         RELATIVE       Yes, because there are times when he’s talking with… [Aside: wait mami, we can

 7                        talk later]…Look, he’s removing the ceramic from the house, he’s going to put

 8                        porcelain. [U/I] how can I say no to him.

 9         LEYDIS         [U/I]

10         RELATIVE       Let’s give him the satisfaction. That house is not going to look like a house, it’s

11                        going to look like a mansion. With everything that he’s asking.

12         LEYDIS         My God, thing is that Emilson doesn’t stop spending, right?

13                 […]

14         RELATIVE       I told everyone, [U/I] a garage in his house. He said, here in the name of [U/I].

15                        This guy wants to leave it like a, like what can I tell you… Look, with everything

16                        that that man has asked for [U/I] that house is not going to look like a house.

17         LEYDIS         God permit.

18         RELATIVE       A mansion.

19         LEYDIS         So then it’s a mansion and a half, what he’s making [U/I].

20         RELATIVE You could see what, how it will be, because everything white. White on top and

21                       white on the bottom. He’s going to throw out all the wood.

22         LEYDIS         Emilson [U/I]. Just anyone is going to go live there and they will use it first.

23         Based on the context of the call, Leydis and the family member appear to be discussing a house

24 under construction that Cruz Mayorquin was funding, presumably through his drug proceeds. Leydis

25 decried the amount of money that he was spending. The family member responded that with the amount

26 of things Cruz Mayorquin was planning on doing, the final product won’t be a “house,” but will be a

27 “mansion.”

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 1          Following the defendant’s arrest, agents located photographs of what is believed to be the home

 2 Cruz Mayorquin was building – a home funded by profits from drug trafficking and that the defendant

 3 will still be able to return to after the completion of his sentence. Below are a few photographs that

 4 were previously produced by the government during the discovery process:

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 3               He was no small-time drug dealer, but rather made a significant amount of money. Cruz

 4 Mayorquin may be a young man, but he learned quickly how to succeed in the drug game.

 5          B.      Cruz Mayorquin’s drug trafficking continued despite his prior arrests, convictions,
                    and removals from the United States.
 6

 7          As outlined in the PSR, this is not Cruz Mayorquin’s first run in with the law nor his first time
 8 being arrested for drug dealing. He was arrested twice as a juvenile in San Francisco in connection with

 9 drugs sales. PSR ¶¶ 41-42. After being placed in the custody of his mother, who was then living in

10 Houston, he violated his immigration bond and was deported. PSR ¶ 53. Up until this point, Cruz

11 Mayorquin’s conduct may be considered as the actions of a teenager who did not know any better and

12 had little meaningful guidance. His criminal activity, however, did not end here.

13          When he illegally returned to the United States, Cruz Mayorquin initially tried his hand at drug
14 dealing in another state and was ultimately arrested in Salt Lake City. PSR ¶ 43. Just two weeks after

15 his arrest, Cruz Mayorquin failed to appear for court. Id. Likely fleeing to avoid the consequences in

16 Utah, Cruz Mayorquin returned to the Bay Area where he was arrested on January 19, 2017, and then

17 again on June 1, 2017, both in connection with drug sales. PSR ¶ 37, 47. It was this second 2017 arrest

18 that led to Cruz Mayorquin’s only criminal conviction. PSR ¶ 37. The PSR describes the circumstances

19 of Cruz Mayorquin’s drug dealing during this period. See PSR ¶ 37, 43. Following both arrests, Cruz

20 Mayorquin reported that he was working for other individuals and that he was merely a “middleman.”

21 Id. After being sentenced in July 2017, Cruz Mayorquin was deported again and returned to Honduras.

22 Id. Once more, despite the opportunity to stop selling drugs in this District, Cruz Mayorquin returned to

23 the Bay Area. This time, Cruz Mayorquin went from being a middleman to running a drug operation in

24 conjunction with his family.

25          The government concedes that Cruz Mayorquin does not fit the definition of a “leader,”
26 “organizer,” or “manager” as those terms are defined by the U.S. Sentencing Guidelines. However,

27 intercepted calls indicate that Cruz Mayorquin, along with his mother, led the family business in a more

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            Overall, Cruz Mayorquin was at the top of an organization that sold large amounts of fentanyl
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     and other drugs. The scope of the operation coupled with Cruz Mayorquin’s escalating conduct despite
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     prior arrested and deportations require a significant custodial sentence.
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 1 V.      CONCLUSION

 2         The government respectfully recommends that this Court impose a 51-month custodial sentence,

 3 followed by four years of supervised release, and a $100 mandatory special assessment.

 4 DATED: December 8, 2021                                    Respectfully submitted,

 5                                                            STEPHANIE M. HINDS
                                                              Acting United States Attorney
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                                                                     /s
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                                                              SAILAJA M. PAIDIPATY
 8                                                            Assistant United States Attorney

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